                 IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

    IN RE:                                               )
                                                         )
    BUCKS COUNTY ONCOPLASTIC                             )
    INSTITUTE, LLC                                       )       Case No: 3:09-bk-03570
                                                         )       Chapter 7
                                                         )       Judge Harrison
    Debtor.                                              )


    THE DEADLINE FOR FILING A TIMELY RESPONSE IS: March 5, 2020
    IF A RESPONSE IS TIMELY FILED, THE HEARING WILL BE: March 17,
    2020, at 9:00 a.m., in Courtroom Three, 2nd Floor, Customs House, 701 Broadway,
    Nashville, Tennessee.

                       NOTICE OF MOTION TO EXTEND BAR DATE

            Eva M. Lemeh, Trustee, has asked the court for the following relief: to extend the
    bar date for filing proofs of claim through May 15, 2020.

           YOUR RIGHTS MAY BE AFFECTED. If you do not want the court to grant the
    attached motion by entering the attached order, or if you want the court to consider your
    views on the motion, then on or before March 5, 2020, you or your attorney must:

    1.       File with the court your response or objection explaining your position. PLEASE
             NOTE: THE BANKRUPTCY COURT FOR THE MIDDLE DISTRICT OF
             TENNESSEE REQUIRES ELECTRONIC FILING. ANY RESPONSE OR
             OBJECTION YOU WISH TO FILE MUST BE SUBMITTED
             ELECTRONICALLY. TO FILE ELECTRONICALLY, YOU OR YOUR
             ATTORNEY MUST GO TO THE COURT WEBSITE AND FOLLOW THE
             INSTRUCTIONS AT: <https://ecf.tnmb.uscourts.gov>.

             If you need assistance with Electronic Filing you may call the Bankruptcy Court at
             (615) 736-5584. You may also visit the Bankruptcy Court in person at: 701
             Broadway, 1st Floor, Nashville, TN (Monday - Friday, 8:00 A.M. - 4:00 P.M.).

    2.       Your response must state that the deadline for filing responses is March 52,
             2020, the date of the scheduled hearing is March 17, 2020, and the motion to
             which you are responding is the Motion to Extend Bar Date.




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    3.      You must serve your response or objection by electronic service through the
            Electronic Filing system described above. You must also mail a copy of your
            response or objection to:

    Eva M. Lemeh, Trustee             United States Trustee                   Phillip G. Young, Jr.
    4300 Kings Lane                   701 Broadway, Customs House Suite 318   Thompson Burton PLLC
    Nashville, TN 37218               Nashville, TN 37203                     One Franklin Park
                                                                              6100 Tower Cir., Ste 200
                                                                              Franklin, TN 37067

            If a response is filed before the deadline stated above, the hearing will be held at
    the time and place indicated above. THERE WILL BE NO FURTHER NOTICE OF
    THE HEARING DATE. You may check whether a timely response has been filed by
    calling the Clerk’s office at (615) 736-5584 or viewing the case on the Court’s website at
    <https://ecf.tnmb.uscourts.gov>.

            If you or your attorney do not take these steps, the court may decide that you do
    not oppose the relief sought in the motion and may enter the attached order granting that
    relief.


            Dated: February 12, 2020

                                                              By:/s/ Phillip G. Young, Jr.
                                                              Phillip G. Young, Jr.
                                                              Thompson Burton PLLC
                                                              6100 Tower Circle, Suite 200
                                                              Franklin, TN 37067
                                                              Tel: (615) 465-6000
                                                              phillip@thompsonburton.com




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                   IN THE UNITED STATES BANKRUPTCY COURT FOR THE
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                                    AT NASHVILLE

    IN RE:                                                  )
                                                            )
    BUCKS COUNTY ONCOPLASTIC                                )
    INSTITUTE, LLC                                          )       Case No: 3:09-bk-03570
                                                            )       Chapter 7
                                                            )       Judge Harrison
                  Debtor.                                   )


                                MOTION TO EXTEND BAR DATE

             The Trustee, Eva M. Lemeh, (the “Trustee”) files this Motion to Extend Bar Date

    (the “Motion”) seeking an extension of the bar date for filing claims in this matter through

    May 1, 2020 (the “Proposed Bar Date”), and in support thereof shows this Court as follows:


             1.       This case has a long and complicated history. On March 30, 2009, Bucks

    County Oncoplastic Institute, LLC (the “Debtor”) filed a voluntary petition for Chapter 7

    bankruptcy relief. The Trustee was duly appointed as Trustee in this Chapter 7 bankruptcy

    case on the same date, has been duly qualified, and is now serving in said capacity.

             2.       The Trustee employed counsel to pursue preference actions against certain

    defendants, collected funds from a bank account, and sold certain pieces of medical

    equipment, all of which resulted in distributions to the holders of allowed unsecured claims

    of $214,535.37.

             3.       In the course of her administration of this estate, the Trustee objected to a

    number of claims that, while filed in the name of the Debtor, attached proof of services

    rendered to DSI Holding Company, LLC, the Debtor’s parent company.

             4.       The Trustee filed her final report in this case on October 3, 2011, filed an

    amended final report on December 22, 2011, and this case was closed on July 9, 2012.


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           5.      Subsequent to the closure of this case, the Trustee learned of allegations

    (and substantial facts supporting those allegations) that led the Trustee to conclude that

    DSI Holding Company, LLC and/or DSI Renal Holdings, LLC should be held jointly and

    severally liable for the debts of the Debtor. More specifically, DSI Renal Holdings, LLC

    filed for Chapter 7 bankruptcy in the United States Bankruptcy Court for the District of

    Delaware and the Chapter 7 Trustee appointed by the Delaware bankruptcy court

    uncovered facts that showed that the Debtor and its parent company participated in a

    fraudulent scheme to transfer all of the assets of both companies to the parent company,

    while transferring all of the debt to the Debtor. The facts uncovered by the Delaware

    trustee also showed that the Debtor and DSI Holding Company, LLC / DSI Renal Holdings,

    LLC were essentially a single entity.

           6.      After learning of these facts, the Trustee filed a substantial claim

    (representing the balance of the unpaid claims in this case, plus interest and fees) in the

    Delaware bankruptcy case of DSI Renal Holdings, LLC. She has twice amended the claim

    to include additional interest and fees.

           7.      When this case was originally pending, the Trustee disallowed a number of

    claims that appeared to be claims against DSI Holding Company, LLC, and not against the

    Debtor. In fact, at least six claimants listed DSI Holding Company, LLC as a “d/b/a” of

    the Debtor in their proofs of claim.

           8.      Of the more than 200 creditors listed in the Debtor’s schedules, only sixty

    claims were filed. The Trustee fears that many of the Debtor’s creditors failed to file a claim

    because all invoices and related paperwork showed the party owing the debt as “DSI Holding

    Company, LLC”, not the Debtor.




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            9.      By this Motion, the Trustee respectfully requests that the Court extend the

    proof of claim bar date to May 15, 2020, to allow any creditors who failed to file a claim

    against the Debtor, under the mistaken belief that the debt was owed by DSI Holding

    Company, LLC, to timely file a claim. Given the new facts and other circumstances

    surrounding this case, the Trustee believes that this requested extension is appropriate,

    equitable, and in the interest of justice.

            WHEREFORE, the Trustee respectfully requests the Court to enter an order (i)

    establishing a new bar date of May 15, 2020, for filing proofs of claim and (ii) granting

    such other and further relief as the Court finds just and proper.

                                                          Respectfully Submitted,

                                                          /s/ Phillip G. Young, Jr.
                                                          Phillip G. Young, Jr.
                                                          Thompson Burton PLLC
                                                          6100 Tower Circle, Suite 200
                                                          Franklin, TN 37067
                                                          Tel: (615) 465-6000
                                                          phillip@thompsonburton.com




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    IN RE:                                                     )
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    INSTITUTE, LLC                                             )       Case No: 3:09-bk-03570
                                                               )       Chapter 7
                                                               )       Judge Harrison
    Debtor.                                                    )


                    ORDER GRANTING MOTION TO EXTEND BAR DATE

            Upon consideration of the notice and motion of Eva M. Lemeh, Trustee, requesting
    an extension of the bar date for filing proofs of claim through May 15, 2020; and no
    objections having been filed; and it appearing to the Court that the relief sought in this matter
    is appropriate; It is hereby

           ORDERED that the bar date for timely filing proofs of claims in this matter is hereby
    extended through May 15, 2020.




              This Order was signed and entered electronically as indicated at the top of the first page.

    APPROVED FOR ENTRY:

    /s/ Phillip G. Young, Jr.
    Phillip G. Young, Jr.
    Thompson Burton PLLC
    6100 Tower Circle, Suite 200
    Franklin, TN 37067
    Tel: (615) 465-6000
    phillip@thompsonburton.com


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                                 CERTIFICATE OF SERVICE


    I hereby certify that a true and correct copy of the foregoing document has been served this
    13th day of February, 2020, upon all parties of record requesting notice through the Court’s
    electronic filing system, and upon the attached mailing matrix by United States First Class
    Mail.


                                                      /s/ Phillip G. Young, Jr.
                                                      Phillip G. Young, Jr.




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